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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

CAROLINE PATTON GRIFFIN,                 :
Individually and as Surviving Spouse     :
and Executor of the Estate of LEE        :
DIXON GRIFFIN, JR.,                      :
                                         :
      Plaintiff,                         : Civil Action File No.: 1:23-cv-03107-
                                         : TWT
v.                                       :
                                         :
TOYOTA MOTOR CORPORATION,                :
TOYOTA MOTOR NORTH                       :
AMERICA, INC.; TOYOTA MOTOR              :
SALES, U.S.A., INC.; TOYOTA              :
MOTOR ENGINEERING &                      :
MANUFACTURING NORTH                      :
AMERICA, INC.; TOYOTA MOTOR              :
MANUFACTURING, TEXAS, INC.;              :
and JIM ELLIS AUTOMOTIVE                 :
HOLDINGS, INC.,                          :
                                         :
      Defendants.                        :

     TOYOTA DEFENDANTS’ MOTION FOR ENTRY OF A SHARING
        PROTECTIVE ORDER AND MEMORANDUM OF LAW

      NOW COME Defendants Toyota Motor Corporation, Toyota Motor North

America, Inc., Toyota Motor Sales, U.S.A. Inc., Toyota Motor Engineering &

Manufacturing North America, Inc., and Toyota Motor Manufacturing, Texas, Inc.

(collectively, the “Toyota Defendants” or “Toyota”) and hereby move this Court

pursuant to Fed. R. Civ. P. 26(c)(1) for entry of the proposed Protective Order

attached hereto as Exhibit “A”, showing this Honorable Court as follows:
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   I.        INTRODUCTION

         The parties here have exchanged competing versions of a protective order for

use in this case. As such, they both acknowledge and agree that a protective order

is appropriate; they just disagree to its terms. Because the terms of the protective

order proposed by Plaintiffs are insufficient and do not adequately protect Toyota’s

confidential and proprietary documents sought in discovery, Toyota proposed a

proper and appropriate protective order for use in this case. Toyota’s proposed

Protective Order allows Plaintiff access to Toyota’s confidential documents, while

safeguarding those documents from improper use and dissemination, thereby

protecting Toyota’s proprietary interests in the documents and information

contained therein. Toyota’s proposed Protective Order should be entered for use in

this case.

   II.       STATEMENT OF FACTS AND PROCEDURAL HISTORY

         This is an automotive product liability case in which Plaintiff alleges that Lee

Griffin died from carbon monoxide poisoning after his 2017 Toyota Tacoma was

left running in his garage at home. Plaintiff alleges that the Tacoma’s push-button

ignition (known as “Smart Key System”) is defectively designed because it should

have been equipped with an automatic engine shut-off feature.

         Many of the documents sought by Plaintiff in discovery are confidential and

contain proprietary and trade secret information regarding the design and


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development of Toyota’s Smart Key System. While Toyota agrees to produce such

documents to Plaintiff for use in prosecuting their claims, entry of a protective order

is needed before such production.

      A.     Toyota’s Proposed Protective Order

      On August 21, 2023, Toyota submitted a proposed Protective Order to

Plaintiff to govern Toyota’s production of confidential documents in discovery. (See

Exhibit “B”, Email Correspondence). Toyota’s proposed Protective Order is proper

and appropriate, and contains necessary and reasonable provisions to protect

Toyota’s confidential documents from improper dissemination and use after

production in this case. Toyota has a property interest in its confidential documents,

which contain proprietary and trade secret information regarding Toyota’s

development of its Smart Key System, among other subjects.

      Toyota’s proposed Protective Order allows sharing of documents with other

plaintiff’s counsel representing parties in cases against Toyota alleging carbon

monoxide poisoning injury or death allegedly resulting from the driver of a Toyota

vehicle equipped with Smart Key leaving the vehicle’s engine running in an enclosed

attached garage. Toyota’s proposed Protective Order also allows Plaintiff to use

Toyota’s documents throughout the case in hearings and in depositions, while

maintaining confidentiality over covered documents during all phases of this case,

including pre-trial, trial, and post-trial proceedings.


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       Toyota’s proposed Protective Order is modeled after other protective orders

that were accepted by other Plaintiff’s counsel in Georgia courts, most recently in

Robertson v. Toyota, Case No. 23-C-03091-S4 (Gwinnet Co. Cir. Ct., 2023), a case

that also alleges Toyota’s Smart Key System is defectively designed because it did

not incorporate an automatic engine shut-off feature. (See Exhibit “C”, Stipulated

Protective Order from Robertson v. Toyota1). Toyota’s proposed Protective Order is

also similar to the one agreed to by this same Plaintiffs’ counsel here when they

represented the plaintiffs in Hill v. Ford (both when the Hill case was in Cobb

County and again after it was dismissed and refiled in Gwinnett County). (See

Exhibit “D”, Stipulated Protective Orders from Hill v. Ford). In addition, Toyota’s

proposed Protective Order is similar to the protective order entered very recently in

another automotive product liability case involving this same plaintiffs’ counsel:

Brogdon v. Ford Motor Company, (4:23-CV-00088-CDL) (M.D. Ga. 2023). In

Brogdon, although plaintiff’s counsel advanced the same arguments to oppose the

protective order that Plaintiff’s counsel has asserted in his correspondence with

Toyota in the instant matter, the court granted Ford’s motion and entered Ford’s

proposed protective order over those similar objections.


1
  See also the Stipulated Protective Orders agreed to by the parties and entered by the courts in the
following cases, all of which are substantively similar to Toyota’s proposed Protective Order in
this case: Zafar v. Toyota Motor Corp., et al., (Gwinnett County, GA, Civ. Act. No. 18-C-02049-
3), Order dated Oct. 22, 2019 attached as Exhibit “E”; Jenness v. Toyota Motor Corp., et al.
(DeKalb County, GA, Case No. CV-19A75448), Order dated July 13, 2020, attached as Exhibit
“F”.
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       Here, Toyota proffers a stipulated Protective Order based on (1) a sharing

order many Georgia Courts have accepted in recent cases in complex product

liability actions against manufacturers and distributors in the automotive industry;

and (2) an order Plaintiff’s counsel agreed to twice in another case with product

liability claims against another automotive defendant—Ford Motor Company.

       B.     Plaintiff’s Objection to Toyota’s Proposed Protective Order and
              Plaintiff’s Proposed Order

       On August 22, 2023, Plaintiff’s counsel emailed Toyota and advised that they

would not agree to Toyota’s proposed protective order. Therein, Plaintiff’s counsel

asserted that although Toyota’s proposed Protective Order was similar to the

proposed Protective Order in Mills [Brogdon] v. Ford, it was unacceptable for use

in this case, and “ridiculous” that Toyota would propose it here. (See Exhibit “B”,

correspondence from J. Butler).2

       Like they argued (unsuccessfully) in Brogdon, Plaintiff’s counsel erroneously

claim the proposed Protective Order in this case not only imposes unreasonable

burdens, but baselessly asserts that Toyota’s proposed Protective Order is radically

different than Orders entered in other past cases. (See Exhibit “G”, Ford’s and

Plaintiff’s proposed Protective Orders, the Court’s Order directing the final

Protective Order to be submitted, and the Protective Order entered by the Court).

2
 As noted above, a substantially similar version of this allegedly “ridiculous” Protective Order
was entered by Judge Land in the Middle District of Georgia over the objection of this same
Plaintiffs’ Counsel on September 7, 2023.
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       Instead of using Toyota’s proposed Protective Order, Plaintiff’s counsel

proposed that the parties stipulate to the entry of an entirely new protective order

which is insufficient and does not properly protect Toyota’s confidential documents.

Indeed, while this protective order is deficient for multiple reasons, one of its main

failings is that it strips protection over Toyota’s confidential documents by virtue of

their use in any proceeding, including hearing, trial or deposition, which is

inconsistent with caselaw in this Circuit.3

       Conversely, Toyota’s proposed Protective Order is reasonable and has been

accepted by Georgia courts and other plaintiffs in other cases. Pursuant to Fed. R.

Civ. P. 26(c)(1), Toyota attempted to confer in good faith with Plaintiff’s counsel on

its entry. (See Exhibit “B”). Plaintiff’s counsel unreasonably refused to agree to the

terms of Toyota’s proposed Protective Order. (Id.) Therefore, Toyota is constrained

to move for entry of its proposed sharing Protective Order.




3
 Plaintiff’s proposed protective order provides that Toyota’s confidential documents may be used
“for any appropriate purpose at trial or other hearing, subject to evidentiary objections, if any, and
for any legitimate purpose during discovery,” and provides that any such use negates
confidentiality over the document, essentially making it public. See Plaintiff’s Proposed Protective
Order, Exhibit “H”. This is not the law in this Circuit.
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III.   ARGUMENT AND CITATION OF AUTHORITIES

       A.    Good Cause Exists for Entry of a Protective Order.

       Good cause exists under Fed. R. Civ. P. 26(c) for the entry of Toyota’s

proposed Protective Order. Fed. R. Civ. P. 26(c) provides in pertinent part:

             A party or any person from whom discovery is sought may
             move for a Protective Order in the court where the action
             is pending … includ[ing] a certification that the movant
             has in good faith conferred or attempted to confer with
             other affected parties in an effort to resolve the dispute
             without court action. The court may, for good cause, issue
             an order to protect a party … requiring that a trade
             secret or other confidential research, development, or
             commercial information not be revealed or be revealed
             only in a specified way[.]

(emphasis added). The Court has wide discretion in crafting a Protective Order to

protect the dissemination of confidential information. Farnsworth v. Procter &

Gamble Co., 758 F.2d 1545, 1548 (11th Cir. 1985).

       Good cause exists here for entry of a Protective Order because the proposed

Protective Order is necessary, is not over-reaching, and does not cover all documents

produced. The global automotive industry is among the most highly competitive

industries in the world. Dissemination of information beyond those permitted by

Toyota’s proposed Protective Order would likely cause untold financial harm to

Toyota. Seattle Times Co. v Rhinehart, 467 U.S. 20, 104 S. Ct. 2199, 81 L. Ed. 2d

17 (1984) at 35-36; (“The prevention of the abuse that can attend the coerced

production of information under a state’s discovery rule is sufficient justification for

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the authorization of Protective Orders.”). Certain documents and other materials

concerning the research, design, and development of certain technologies of Toyota

vehicles contain highly confidential and proprietary trade secret information,

including testing data and related materials generated as part of ongoing

development and research efforts that are exclusive to Toyota and its licensees, that

will greatly impact the companies’ competitive advantage in their industries. Toyota

has invested significant time and money over many years to develop the information

and processes described in these documents.

      Many documents Toyota will produce are commercially sensitive, contain

trade secrets, would be invaluable to Toyota’s competitors, and would cause

irreparable injury to Toyota if publicly disseminated. This proprietary information

is still used today and is valuable to Toyota, both as its property and because its

competitors lack access to it. Toyota has gone to great lengths to protect this

information and these documents from widespread dissemination and to keep this

information secret. Toyota works to maintain the confidentiality of its documents

by restricting access to documents and through the use of technology and other

security protocols and processes.

      Toyota’s proposed Protective Order should be entered because it permits

production of Toyota’s confidential documents for use by Plaintiff in this case, while

simultaneously protecting Toyota’s legitimate property interests in the documents


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and the confidential information they contain. Toyota’s proposed Protective Order

has no effect on the scope of discovery, or the documents sought or to be produced

in this case.    Toyota simply seeks to balance Plaintiff’s need for Toyota’s

confidential documents with its own need to safeguard those same materials from its

competitors and others to whom dissemination would cause Toyota competitive

harm. Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th

Cir. 2001) (per curiam), quoting Wilson v. Am. Motors Corp., 759 F.2d 1568, 1571

(11th Cir. 1985) (when concealing case documents, the court must balance the

competing interests of the parties.) Toyota’s proposed order will safeguard Toyota—

at no cost to Plaintiff—from unauthorized disclosure of Toyota’s proprietary and

commercially sensitive business information.

      B.      The Parties Agree that a Protective Order is Appropriate.

      The parties collectively agree that a protective order is appropriate in this case.

Indeed, despite their hyperbole that Toyota’s proposed Protective Order is

“ridiculous”, Plaintiff appears only opposed to a small subset of language in

Toyota’s proposed Protective Order. (Exhibit “A”). Namely, Plaintiff’s primary

opposition to Toyota’s proposed Protective Order boils down to the following main

issues:

      1.      whether it is up to the party challenging the confidentiality of a

              document produced subject to the protective order to present the


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            disagreement to the Court via motion (see Toyota’s proposed Stipulated

            Protective Order, Exhibit “A”, at para. 17) or the party producing the

            protected documents to present a motion to the Court to preserve the

            confidential status of a document that the receiving party challenges as

            such (see Plaintiff’s proposed Stipulated Confidentiality Order, Exhibit

            “H”, at para. no. 4); and

      2.    whether any confidential document used at a hearing or at trial should

            automatically lose its protected status. Compare Toyota’s proposed

            Stipulated Protective Order, Exhibit “A”, at para. 21 (“the parties agree

            to take reasonable steps to maintain the confidentiality of any

            ‘confidential information’ at any hearing or upon trial of this matter”)

            with Plaintiff’s proposed Stipulated Confidentiality Order, Exhibit “H”,

            at para. no. 9 (“The material designated Confidential may be used by

            either party for any appropriate purpose at trial or other hearing, subject

            to evidentiary objections, if any.”)

      This Court should resolve both of these issues in favor of the provisions

included in Toyota’s proposed Protective Order.

      C.    Toyota’s Procedure for Challenging the Confidential Status of
            Documents Should be Adopted.

      Toyota’s proposed procedure for resolving disputes regarding the claimed

confidential status of documents is reasonable, consistent with numerous stipulated

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protective orders agreed to by Plaintiff and entered by courts across the country,

including Georgia, and is most likely to minimize the number of disputes over

confidential documents that require the Court’s resources to adjudicate. Importantly,

Toyota’s proposed procedure still maintains the ultimate burden of proof for

substantiating a document’s confidential status on the party claiming protection

over that document. See Toyota’s proposed Protective Order, Exhibit “A,” at para.

17 (“The party asserting that documents or other tangible litigation materials

constitute ‘Confidential Information’ shall bear the burden of proof that the criteria

of this Stipulated Protective Order apply.”).

      However, the key difference between Plaintiff’s proposed procedure for

resolving such disputes and Toyota’s is that Plaintiff’s proposal requires the party

producing the protected document to file a motion with the Court whenever the

receiving party asserts an objection to a document’s protected status and, if no

motion is filed, the document loses confidentiality and becomes public. As a

practical matter, it is easy for parties to raise objections, but if the challenging party

must file a motion to have those objections resolved by the Court, there is greater

incentive for the challenging party to meet and confer in good faith with their

opponent.

      Under Plaintiff’s procedure, Toyota will likely be forced to file multiple time-

consuming and costly motions to substantiate its confidentiality claims whenever


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Plaintiff objects to Toyota’s designations. Instead, this Court—like other courts

across the state of Georgia have frequently done in other cases—should require the

objecting party to file any motions to challenge the confidential status of documents

produced subject to the Protective Order. See Exhibits “C”, “D”, and “E” [other Ga.

courts endorsing Toyota protective orders from Robertson and cited in fn. 1 above].

      Accordingly, Toyota’s proposed Protective Order should be entered.

      D.     Toyota’s Confidential Documents Should Remain Protected
             Through Trial.

      Toyota’s proposed Protective Order provides that protected documents

maintain their protected status even if used in the taking of depositions and/or used

as trial exhibits so long as Toyota either “(i) [makes] a statement [that the documents

are confidential] on the record during the proceeding in which the testimony is

received, or (ii) by written notice served on counsel of record in this Litigation within

thirty (30) days after the receipt of the draft or final transcript.” See Exhibit “A”,

Para. 13.

      Toyota has a significant interest in protecting its proprietary information and

trade secrets. Potentially sealing proprietary and trade secret documents used at

deposition, in connection with a case filing, or during a hearing or trial will not

prejudice Plaintiff; Plaintiff will still be able to use the documents in the furtherance

of his case. However, failing to seal protected documents from the public record

would prejudice Toyota and impair its ability to compete in the marketplace, thereby

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eroding its competitive advantage. Toyota recognizes a litigant’s right to judicial

records; however, the United States Supreme Court has held that right is not

absolute. See Nixon v. Warner Commc’ns, 435 U.S. 589, 598 (1978) (“It is

uncontested, however, that the right to inspect and copy judicial records is not

absolute. Every court has supervisory power over its own records and files, and

access has been denied where court files might have become a vehicle for improper

purposes…courts have refused to permit their files to serve as…sources of business

information that might harm a litigant’s competitive standing.”)4

       Conversely, Plaintiff’s proposed Protective Order offers no protection

whatsoever for confidential documents that may be used at a hearing or at trial, or

appended to a case filing, and in effect, strips the protections otherwise afforded

confidential documents simply by using them at a deposition, hearing or at trial:



4
  See also Chicago Tribune, 263 F.3d at 1311 (the Eleventh Circuit recognizes both a common law
right and a limited First Amendment right of access to civil trial proceedings). “[T]he mere filing
of a document does not transform it into a judicial record.” Commr., Alabama Dept. of Corrections
v. Adv. Loc. Media, LLC, 918 F.3d 1161, 1167 (11th Cir. 2019). For example, documents filed in
connection with discovery motions or used at discovery-related hearings are not considered judicial
documents and are not subject to the common law right of access. Chicago Tribune Co., 263 F.3d
at 1313 (11th Cir. 2001); In re Alexander Grant & Co. Litig., 820 F.2d 352, 355 (11th Cir. 1987).
Rather, judicial documents are those that are “integral to the ‘judicial resolution of the merits’ in
any action taken by that court.” Id.; F.T.C. v. AbbVie Prod. LLC, 713 F.3d 54, 64 (11th Cir. 2013);
Chicago Tribune, 263 F.3d at 1312 (11th Cir. 2001). Even then, judicial records may still be sealed,
but the standard to seal is somewhat higher. Advance Loc. Media, 918 F.3d at 1166–68 (when a
document is filed, the type of filing to which it is attached is a factor for the Court to consider in
deciding whether the document constitutes a judicial record); Romero v. Drummond Co., Inc., 480
F.3d 1234, 1245 (11th Cir. 2007) (presumption applies to “material filed in connection with pretrial
motions that require judicial resolution of the merits” but not documents “filed in connection with
motions to compel discovery”).
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             The material designated Confidential may be used by
             either party for any appropriate purpose at trial or other
             hearing, subject to evidentiary objections, if any, and for
             any legitimate purpose during discovery.

See Exhibit “H”, Para. 9.

      Plaintiff’s position is not supported by the law. See Nixon v. Warner

Commc’ns, 435 U.S. at 598. Likewise, the Georgia Supreme Court has held that trial

courts may “limit access to court records if the court finds that ‘the harm otherwise

resulting to the privacy of a person in interest clearly outweighs the public interest.’”

Savannah College of Art & Design, Inc. v. School of Visual Arts, Inc., 270 Ga. 791,

792 (1999) (the Court reversed a trial court’s ruling that confidential documents

should be open for public inspection and held that the trial court had abused its

discretion by concluding that the moving party’s privacy interest did not outweigh

the public’s interest in access to court records).

      More specifically, though, the type of confidential documents that Toyota

may seek to protect in this case have frequently been sealed by the federal district

courts in Georgia. See, e.g., Chemence Med. Prods. v. Medline Indus., Inc., No.

1:13–CV–500–TWT, 2015 WL 149984, at *3-6 (N.D. Ga. 2015) (granting several

motions to seal excerpts and exhibits of depositions where product specifications

and confidential business transactions were discussed); Cognotion, Inc. v. Grace

Hill, LLC, CV 115-201, 2016 WL 1529904 at *1-2 (S.D. Ga. 2016) (granting motion

to seal Complaint that contained confidential business information). There is no

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substantial justification for waiving the confidentiality over a document simply

because excerpts may be shown in a courtroom at trial or during a hearing.

      Toyota’s requests to seal documents will be reasonable and narrowly tailored

to the needs of this case, including with respect to confidential documents used at

trial. Including Plaintiff’s language would result in the loss of protection afforded to

confidential documents simply because they are used at a hearing or at trial.

      For the reasons set forth above, Toyota respectfully requests that this Court

enter Toyota’s proposed Protective Order.

IV.   CONCLUSION

      Toyota respectfully requests that this Court enter its proposed Protective

Order governing the use of confidential documents, as it is reasonable and consistent

with protective orders entered by Georgia courts in similar cases, including cases

involving Plaintiff’s counsel.

      Respectfully submitted this 3rd day of November, 2023.

                                            WATSON SPENCE LLP

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                           FONT CERTIFICATION

      Pursuant to Local Rule 7.1D, I hereby certify that this pleading was prepared

using a font and point selection approved by the Court in Local Rule 5.1C.

                                         WATSON SPENCE LLP

                                         /s/ Philip A. Henderson
                                         Philip A. Henderson
                                         Georgia Bar No.: 604769




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                          CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system which will automatically send email notification of

such filing to the following attorneys of record:

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      This 3rd day of November, 2023.

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